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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                             Chapter 11

 GIGAMONSTER NETWORKS,                              Case No. 23-10051 (JKS)
 LLC, et al.1,
                                                    (Jointly Administered)
                   Debtors.
                                                    Ref. Docket No. 418

          CERTIFICATE OF NO OBJECTION REGARDING DOCKET NO. 418

                  The undersigned hereby certifies that, as of the date hereof, she has received no

answer, objection, or other responsive pleading to the Fourth Monthly Application of Faegre

Drinker Biddle & Reath LLP for Allowance of Compensation for Services Rendered and

Reimbursement of Expenses as Attorneys to the Official Committee of Unsecured Creditors for the

Period from May 1, 2023, through May 31, 2023 [Docket No. 418] (the “Application”) filed on

June 21, 2023.

                  The undersigned further certifies that, as of the date hereof, she has reviewed the

Court’s docket in this case and no answer, objection or other responsive pleading to the Application

appears thereon.      Objections to the Application were to be filed and served no later than

4:00 p.m. (ET) on July 12, 2023.




    1
         The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.


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                  Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals [D.I. 122], the Debtors are now authorized to pay

80% ($62,230.40) of requested fees ($77,788.00) and 100% of requested expenses ($657.35) on a

monthly basis without further Court order.



    Dated: July 13, 2023                 FAEGRE DRINKER BIDDLE & REATH LLP

                                         /s/ Jaclyn C. Marasco
                                         Patrick A. Jackson (Bar No. 4976)
                                         Jaclyn C. Marasco (Bar No. 6477)
                                         222 Delaware Avenue, Suite 1400
                                         Wilmington, Delaware 19801
                                         Telephone: (302) 467-4200
                                         Facsimile: (302) 467-4201
                                         Emails: patrick.jackson@faegredrinker.com
                                                  jaclyn.marasco@faegredrinker.com

                                         -and-

                                         Richard J. Bernard (admitted pro hac vice)
                                         1177 Avenue of the Americas, 41st Floor
                                         New York, New York 10036
                                         Telephone: (212) 248-3263
                                         Facsimile: (212) 248-3141
                                         Email: richard.bernard@faegredrinker.com

                                         Counsel to the Official Committee of Unsecured
                                         Creditors




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